9 F.3d 978
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Elisa B. TITONG, Claimant-Appellant,v.Jesse BROWN, Secretary of Veterans Affairs, Respondent-Appellee.
    No. 93-7079.
    United States Court of Appeals, Federal Circuit.
    Sept. 8, 1993.
    
      Before LOURIE, Circuit Judge, BENNETT, Senior Circuit Judge, and RADER, Circuit Judge.
      ON MOTION
      LOURIE, Circuit Judge.
    
    ORDER
    
      1
      The Secretary of Veterans Affairs moves to waive the requirements of Fed.Cir.R. 27(e) and to dismiss Elisa B. Titong's appeal for lack of jurisdiction.  Titong has not filed a response.
    
    
      2
      Titong seeks review of a decision of the United States Court of Veterans Appeals summarily affirming the decision of the Board of Veterans Appeals that denied her claim for benefits on the ground that her deceased husband did not have recognized active military service in the Armed Forces of the United States.  Titong challenges only factual determinations or the application of a law or regulation to her claim, or raises a legal question that does not contest the validity of a statute or regulation, or the interpretation of a constitutional or statutory provision or a regulation.  No issue is raised that falls within the limited jurisdiction of this court under 38 U.S.C. Secs. 7292(c), (d)(1)-(2) (Supp.  III 1991).  See Livingston v. Derwinski, 959 F.2d 224 (Fed.Cir.1992).
    
    
      3
      Accordingly,
    
    IT IS ORDERED THAT:
    
      4
      (1) The Secretary's motion to waive the requirements of Fed.Cir.R. 27(e) is granted.
    
    
      5
      (2) The Secretary's motion to dismiss is granted.
    
    
      6
      (3) Each side shall bear its own costs.
    
    